                                        Case 17-40693-mxm7                Doc 520 FiledFORM     1
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                                                                                        ASSET CASES

Case No.:                        17-40693                                                                                               Trustee Name:                        Shawn K. Brown
Case Name:                       ERATH IRON AND METAL, INC.                                                                             Date Filed (f) or Converted (c):     10/17/2017 (c)
For the Period Ending:           09/30/2020                                                                                             §341(a) Meeting Date:                11/28/2017
                                                                                                                                        Claims Bar Date:                     03/19/2018
                                    1                                         2                       3                           4                        5                                     6

                       Asset Description                                   Petition/         Estimated Net Value               Property              Sales/Funds           Asset Fully Administered (FA)/
                        (Scheduled and                                   Unscheduled        (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                           Less Liens, Exemptions,
                                                                                              and Other Costs)

Ref. #
1        Bank funds WF ###1206                                  (u)               $0.00                       $139.08                                           $139.08                                      FA
2        Insurance refund-National Lloyds                       (u)               $0.00                       $567.00                                           $567.00                                      FA
3        Cash on hand-remaining petty cash.                     (u)           $1,530.70                       $337.75                                           $337.75                                      FA
4        Accounts receivables-not administered in                           $165,865.20                          $0.00                                            $0.00                                      FA
         chapter 7 case.
5        EIM Operations LLC 100%                                                  $0.00                          $0.00                                            $0.00                                      FA
Asset Notes:    Value Amendment DE# 103 4,658,822. Conversion schedules DKT# 348 unknown value
6      EIM Aviation LLC                                                      $0.00                               $0.00                                            $0.00                                      FA
7        EIM Express LLC                                                          $0.00                          $0.00                                            $0.00                                      FA
8        Recyclable materials. Not administered in the                      $233,795.41                          $0.00                                            $0.00                                      FA
         chapter 7 case.
9        Desks, computers. Not administered in the                            $1,500.00                          $0.00                                            $0.00                                      FA
         chapter 7 case.
10       Automobiles, trucks trailers, cranes (52 entries)                $4,153,426.00                          $0.00                                         $8,400.00                                     FA
11     Other machinery. Not administered in the                           $5,552,045.34                          $0.00                                            $0.00                                      FA
       chapter 7 case.
12     Real property-6970 S. US. Hwy 377                                  $4,330,000.00                          $0.00                                            $0.00                                      FA
       Stephenville, TX 76401 11.708 acre. Not
       administered in the chapter 7 case.
13     3 lots 235 W. Elm St Dublin TX 76646 Office,                         $330,000.00                          $0.00                                            $0.00                                      FA
       Warehouse, and recycling facility. Not
       administered in the chapter 7 case.
14     6686 S. US. Hwy 377 Stephenville, TX 76401                           $225,000.00                          $0.00                                            $0.00                                      FA
       Parking Lot on 2.35 acres Tractor, Trailer, Truck
       Parking Lot. Not administered in the chapter 7
       case.
Asset Notes:      Foreclosed DIP lien Marshall Scott Davis Dkt# 284
15     589 CR 378 Stephenville, TX 76401 3 houses,                          $605,000.00                          $0.00                                            $0.00                                      FA
       barn apartment, office, shed and storage on
       13.10 acres. 22080 N US 281 Stephenville TX
       76401 Home on 5.809 acres. Not administered
       in the chapter 7 case.
16     Customer lists-6 yards. Not administered in the                         $300.00                           $0.00                                            $0.00                                      FA
       chapter 7 case.
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                                                                                ASSET CASES

Case No.:                      17-40693                                                                                         Trustee Name:                        Shawn K. Brown
Case Name:                     ERATH IRON AND METAL, INC.                                                                       Date Filed (f) or Converted (c):     10/17/2017 (c)
For the Period Ending:         09/30/2020                                                                                       §341(a) Meeting Date:                11/28/2017
                                                                                                                                Claims Bar Date:                     03/19/2018
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                      Asset Description                            Petition/        Estimated Net Value                Property              Sales/Funds           Asset Fully Administered (FA)/
                       (Scheduled and                            Unscheduled       (Value Determined by                Abandoned             Received by           Gross Value of Remaining Assets
                  Unscheduled (u) Property)                         Value                 Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                  Less Liens, Exemptions,
                                                                                     and Other Costs)

17      Goodwill. Not administered in the chapter 7                 $500,000.00                         $0.00                                             $0.00                                      FA
        case.
18      John Boyd's Claim from Business Unknown                       Unknown                           $0.00                                             $0.00                                      FA
19      DIP Checking-First Financial Bank                            $24,496.19                         $0.00                                             $0.00                                      FA
Asset Notes:     Conversion schedules DKT# 348
20      Checking First Financial Bank (2 accounts)                     $126.61                          $0.00                                             $0.00                                      FA
Asset Notes:     Conversion schedules DKT# 348
21      Texas Bank checking (2 accounts)                               $668.21                          $0.00                                             $0.00                                      FA
Asset Notes:     Conversion schedules DKT# 348
22      Checking F&M Bank                                              $179.40                          $0.00                                             $0.00                                      FA
Asset Notes:     Conversion schedules DKT# 348
23      2 Clements trailers                                           Unknown                       $5,000.00                                      $22,000.00                                        FA
Asset Notes:     Conversion schedules DKT# 348
24     Restitution                                      (u)               $0.00                         $0.00                                            $78.33                                      FA
25      Refunds                                         (u)               $0.00                       $947.26                                          $3,151.52                                     FA
26      Brazos Electric Coop dividend                   (u)               $0.00                        $56.39                                            $56.39                                      FA
27      Chapter 5 recoveries-each listed as separate                      $0.00                   $120,000.00                                             $0.00                                      FA
        asset.
28      Preference v. DFW Industrial Metals and         (u)               $0.00                     $6,000.00                                          $6,000.00                                     FA
        Recycling-Adv #19-04012
29      Preference v Yellowstone Capital LLC            (u)               $0.00                     $5,500.00                                          $5,500.00                                     FA
30      Preference v. Ace Funding Group                 (u)               $0.00                     $8,000.00                                          $8,000.00                                     FA
31      Preference v Murphy Scott $2,833,677.61         (u)               $0.00                  $2,833,677.61                                     $17,250.00                                        FA
        demand
32      Preference v. Nicolle Boyd $12,833 demand       (u)               $0.00                    $12,833.00                                             $0.00                                      FA
33      Preference v Budget Wrench $5,344.32 demand     (u)               $0.00                     $5,344.32                                          $3,200.00                                     FA
34      Preference v Temaxx LLC $18,434.10 default                        $0.00                    $18,434.10                                             $0.00                              $18,434.10
        judgment entered
35      Preference v. Red Cymbal                        (u)               $0.00                    $10,000.00                                      $10,000.00                                        FA
35      VOID                                                              $0.00                         $0.00                                             $0.00                                      FA
35      VOID                                                              $0.00                         $0.00                                             $0.00                                      FA
35      VOID                                                              $0.00                         $0.00                                             $0.00                                      FA
36      Preference v Bridgeport Iron & Metal            (u)               $0.00                    $21,986.79                                          $1,000.00                                     FA
        $21,986.79 demand
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Case No.:                     17-40693                                                                                          Trustee Name:                        Shawn K. Brown
Case Name:                    ERATH IRON AND METAL, INC.                                                                        Date Filed (f) or Converted (c):     10/17/2017 (c)
For the Period Ending:        09/30/2020                                                                                        §341(a) Meeting Date:                11/28/2017
                                                                                                                                Claims Bar Date:                     03/19/2018
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                      Asset Description                           Petition/         Estimated Net Value                Property              Sales/Funds           Asset Fully Administered (FA)/
                       (Scheduled and                           Unscheduled        (Value Determined by                Abandoned             Received by           Gross Value of Remaining Assets
                  Unscheduled (u) Property)                        Value                  Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                  Less Liens, Exemptions,
                                                                                     and Other Costs)

37     Preference v Midwest Engine Inc Default         (u)                $0.00                    $10,240.00                                             $0.00                              $10,240.00
       judgment entered for $14,590
38     Preference v Appleton Electric $17,396.39                          $0.00                    $17,396.39                                          $8,500.00                                     FA
       demand
Asset Notes:     Settled
39     Preference v Accu-Lock Inc. $11,351.45                             $0.00                    $11,351.45                                             $0.00                                      FA
       demand
Asset Notes:     Dismissed
40     Preference v Power Up Lending Group             (u)                $0.00                    $31,577.98                                      $18,500.00                                        FA
       $31,577.98 demand
41     Claim v Parham garage for stay violation        (u)                $0.00                     $1,000.00                                          $1,000.00                                     FA
42      United Cooperative Services member dividends   (u)                $0.00                        $81.03                                            $81.03                                      FA
43      Preference v Murphy Scott                                         $0.00                    $17,500.00                                             $0.00                                      FA
        Resources-DUPLICATE ASSET ENTRY
44      United Cooperative Services member dividend    (u)                $0.00                        $59.62                                             $0.00                                      FA
        refund


TOTALS (Excluding unknown value)                                                                                                                                        Gross Value of Remaining Assets
                                                                $16,123,933.06                   $3,138,029.77                                     $113,761.10                               $28,674.10



Major Activities affecting case closing:
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Case No.:                    17-40693                                                                                   Trustee Name:                        Shawn K. Brown
Case Name:                   ERATH IRON AND METAL, INC.                                                                 Date Filed (f) or Converted (c):     10/17/2017 (c)
For the Period Ending:       09/30/2020                                                                                 §341(a) Meeting Date:                11/28/2017
                                                                                                                        Claims Bar Date:                     03/19/2018
                                1                                      2                  3                       4                        5                                     6

                     Asset Description                             Petition/     Estimated Net Value           Property              Sales/Funds           Asset Fully Administered (FA)/
                      (Scheduled and                             Unscheduled    (Value Determined by           Abandoned             Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                          Value              Trustee,          OA =§ 554(a) abandon.        the Estate
                                                                               Less Liens, Exemptions,
                                                                                  and Other Costs)

 10/12/2020    UPDATE 10.12.20--CHAPTER 5 COLLECTION OF DEFAULT JUDGMENTS ONGOING. BASED ON CHAPTER 11 ALLOWED ADMINISTRATIVE EXPENSES TOTALING
               OVER $400,000, CASE IS LIKELY ADMINISTRATIVELY INSOLVENT, WITH NO DISTRIBUTIONS TO PRIORITY AND GENERAL UNSECURED CREDITORS
               ANTICIPATED. FINAL TAX RETURN TO BE PREPARED.


               UPDATE 8.28.18-SUBSTANTIALLY ALL TANGIBLE ASSETS, REAL AND PERSONAL, HAVE BEEN REPOSSESSED AND FORECLOSED PURSUANT TO MULTIPLE STAY
               ORDERS ENTERED IN THE CASE. TRUSTEE AND HIS PROFESSIONALS ARE REVIEWING POTENTAIL CHAPTER 5 AND OTHER CAISES OF ACTION.

               UPDATE 10.16.18-SALE OF TRAILERS IN PROCESS. CHAPTER 5 ACTIONS UNDER REVIEW.

               UPDATE 4.18.19-CHAPTER 5 ACTIONS ARE FILED AND BEING PURSUED.

               UPDATE 10.15.19-CHAPTER 5 ACTIONS PENDING.

               UPDATE 4.21.20-ONE CHAPTER 5 ACTION PENDING. CHAPTER 5 JUDGMENTS IN COLLECTION PROCESS.

               ASSETS ARE CHAPTER 5 AND OTHER POTENTIAL ACTIONS

               MAJOR ACTIVITIES:

               SECURE PROPERTY
               SECURE DOCUMENTS AND DATA

               CLAIMS BAR DATE SET: 12.19.17
               CLAIMS REVIEW DATE:
               CLAIMS OBJECTIONS FILED DATE:
               FINAL ALLOWANCE DATE:

               TAX RETURN 505 LETTER SENT DATE: 2016, 17 18 sent 9.13.19
               PROMPT DETERMINATION RECEIVED DATE:

               PREFERENCE/FRAUDULENT TRANSFER REVIEW

               TFR PREPARED AND SENT TO UST DATE:
               TFR APPROVED AND FILED DATE:
               FEE APPLICATIONS FILED DATE:
               TFR FINAL AND CHECKS MAILED DATE:
                                                                                                                   SUBTOTALS                   $0.00              $0.00
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Case No.:                    17-40693                                                                                               Trustee Name:                        Shawn K. Brown
Case Name:                   ERATH IRON AND METAL, INC.                                                                             Date Filed (f) or Converted (c):     10/17/2017 (c)
For the Period Ending:        09/30/2020                                                                                            §341(a) Meeting Date:                11/28/2017
                                                                                                                                    Claims Bar Date:                     03/19/2018
                                 1                                   2                            3                           4                        5                                     6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds           Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)

               ZERO BALANCE DATE:
               TDR SENT TO UST DATE:
               TDR FILED DATE:


Initial Projected Date Of Final Report (TFR):   12/31/2021                    Current Projected Date Of Final Report (TFR):                                /s/ SHAWN K. BROWN
                                                                                                                                                           SHAWN K. BROWN
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                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       17-40693                                                                             Trustee Name:                        Shawn K. Brown
Case Name:                     ERATH IRON AND METAL, INC.                                                           Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9575                                                                           Checking Acct #:                     ******0693
Co-Debtor Taxpayer ID #:                                                                                            Account Title:
For Period Beginning:          10/01/2019                                                                           Blanket bond (per case limit):       $300,000.00
For Period Ending:             09/30/2020                                                                           Separate bond (if applicable):


     1                2                        3                                                 4                                        5                    6                7

Transaction      Check /                    Paid to/                    Description of Transaction                   Uniform           Deposit           Disbursement         Balance
   Date           Ref. #                 Received From                                                              Tran Code            $                    $


11/15/2017           (1)    WELLS FARGO                        Bank funds                                            1290-010            $139.08                     $0.00           $139.08
11/30/2017                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.07           $139.01
12/31/2017                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.20           $138.81
01/31/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.20           $138.61
02/26/2018           (24)   STEPHENS COUNTY DIST. CLERK        Restituition payment                                  1221-000                 $3.33                  $0.00           $141.94
02/27/2018           (3)    ERATH IRON & METAL, INC            Petty cash delivered by N. Boyd-purchased cashiers    1290-010            $337.75                     $0.00           $479.69
                                                               check with cash.
02/28/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.20           $479.49
03/31/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.71           $478.78
04/30/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.68           $478.10
05/31/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.71           $477.39
06/22/2018           (24)   JOHNSON & SOMMERVELLE              Criminal restitution payment-Clay Russell Perry       1221-000              $75.00                    $0.00           $552.39
06/22/2018           (25)   UNITED COOPERATIVE SERVICES        Refund                                                1290-000            $947.26                     $0.00          $1,499.65
06/30/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $0.97          $1,498.68
07/02/2018           (2)    NATIONAL LLOYDS INSURANCE          Unearned premium refund                               1290-000            $567.00                     $0.00          $2,065.68
                            COMPANY
07/02/2018           2001   Bates & Myers Company              July storage (1/2 with Regency)                       2410-000                 $0.00                $75.00           $1,990.68
07/30/2018           2002   Bates & Myers Company              August 2018 storage (1/2 with Regency)                2410-000                 $0.00                $75.00           $1,915.68
07/31/2018                  Integrity Bank                     Bank Service Fee                                      2600-000                 $0.00                  $2.93          $1,912.75
08/05/2018                  Independent Bank                   Bank Service Fee                                      2600-000                 $0.00                  $0.47          $1,912.28
08/06/2018                  Independent Bank                   Bank Service Fee                                      2600-000                 $0.00                 ($0.47)         $1,912.75
08/31/2018                  Independent Bank                   Bank Service Fee                                      2600-000                 $0.00                $33.47           $1,879.28
09/04/2018           2003   Bates & Myers Company              September 2018 storage (1/2 with Regency)             2410-000                 $0.00                $75.00           $1,804.28
09/05/2018                  Independent Bank                   Bank Service Fee                                      2600-000                 $0.00                ($33.47)         $1,837.75
09/06/2018                  Independent Bank                   Bank Service Fee                                      2600-000                 $0.00                  $2.84          $1,834.91
10/05/2018           2004   Bates & Myers Company              October 2018 storage (1/2 with Regency)               2410-000                 $0.00                $75.00           $1,759.91

                                                                                                                    SUBTOTALS            $2,069.42                 $309.51
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                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       17-40693                                                                                             Trustee Name:                        Shawn K. Brown
Case Name:                     ERATH IRON AND METAL, INC.                                                                           Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9575                                                                                           Checking Acct #:                     ******0693
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:          10/01/2019                                                                                           Blanket bond (per case limit):       $300,000.00
For Period Ending:             09/30/2020                                                                                           Separate bond (if applicable):


     1                2                           3                                                    4                                                  5                    6                 7

Transaction      Check /                      Paid to/                       Description of Transaction                              Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                   Received From                                                                            Tran Code            $                    $


10/26/2018           (26)   UNITED COOPERATIVE SERVICES             Dividend payment                                                 1290-000              $56.39                     $0.00          $1,816.30
11/06/2018           2005   Bates & Myers Company                   November 2018 storage (1/2 with Regency)                         2410-000                 $0.00                  $75.00          $1,741.30
12/03/2018           2006   Bates & Myers Company                   December 2018 storage (1/2 with Regency)                         2410-000                 $0.00                  $75.00          $1,666.30
01/02/2019           2007   Bates & Myers Company                   January 2019 storage (1/2 with Regency)                          2410-000                 $0.00                  $75.00          $1,591.30
01/14/2019           2008   Clerk, U.S. Bankruptcy Court            Certified copy of motion to sell                                 2700-000                 $0.00                  $14.00          $1,577.30
02/04/2019           2009   Bates & Myers Company                   February 2019 storage (1/2 with Regency)                         2410-000                 $0.00                  $75.00          $1,502.30
02/18/2019                  ROSEN SYSTEMS, INC.                     Auction proceeds                                                     *             $25,400.00                     $0.00       $26,902.30
                     {23}                                                                                              $22,000.00    1129-000                                                     $26,902.30
                     {10}                                                                                               $3,400.00    1129-000                                                     $26,902.30
03/02/2019           2010   Bates & Myers Company                   March 2019 storage (1/2 with Regency)                            2410-000                 $0.00                  $75.00       $26,827.30
03/25/2019           2011   Marilyn D. Garner, Trustee              One half sale proceeds of Transcraft trailer per Order           2500-000                 $0.00            $1,700.00          $25,127.30
                                                                    Dkt#386 and Motion 381.
03/29/2019           2012   Clerk, US Bankruptcy Court              Certified order fee #415                                         2700-000                 $0.00                  $12.00       $25,115.30
04/03/2019           (10)   THE MILL                                Sale proceeds Mack truck Order #415                              1129-000           $5,000.00                     $0.00       $30,115.30
04/03/2019           2013   Bates & Myers Company                   April 2019 storage (1/2 with Regency)                            2410-000                 $0.00                  $75.00       $30,040.30
04/23/2019           (28)   DFW INDUSTRIAL METALS &                 Preference settlement payment                                    1241-000           $6,000.00                     $0.00       $36,040.30
                            RECYCLING INC.
04/23/2019           2014   Rosen Systems, Inc.                     Order Dkt# 431                                                   3620-000                 $0.00                 $462.59       $35,577.71
05/01/2019           2015   Bates & Myers Company                   May 2019 storage (1/2 with Regency)                              2410-000                 $0.00                  $75.00       $35,502.71
05/27/2019           (29)   YELLOWSTONE CAPITAL LLC                 Preference settlement payment                                    1241-000           $5,500.00                     $0.00       $41,002.71
06/04/2019           2016   Bates & Myers Company                   June 2019 storage (1/2 with Regency)                             2410-000                 $0.00                  $75.00       $40,927.71
06/20/2019           2017   Nicolle Boyd                            Reimburse postage for mailing to CPA                             2990-000                 $0.00                  $11.50       $40,916.21
07/03/2019           2018   Bates & Myers Company                   July 2019 storage (1/2 with Regency)                             2410-000                 $0.00                  $75.00       $40,841.21
07/12/2019           2019   Litzler Segner Shaw & McKenney LLP      Expense advance on A-Legal copy invoice for 454.84.              2990-000                 $0.00                 $200.00       $40,641.21
                                                                    Balance paid by LSSM.
07/15/2019           (25)   PACCAR FINANCIAL CORP                   Refund                                                           1290-000           $2,204.26                     $0.00       $42,845.47


                                                                                                                                    SUBTOTALS           $44,160.65                 $3,075.09
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                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       17-40693                                                                             Trustee Name:                        Shawn K. Brown
Case Name:                     ERATH IRON AND METAL, INC.                                                           Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9575                                                                           Checking Acct #:                     ******0693
Co-Debtor Taxpayer ID #:                                                                                            Account Title:
For Period Beginning:          10/01/2019                                                                           Blanket bond (per case limit):       $300,000.00
For Period Ending:             09/30/2020                                                                           Separate bond (if applicable):


     1                2                      3                                                  4                                         5                    6                 7

Transaction      Check /                  Paid to/                     Description of Transaction                    Uniform           Deposit           Disbursement          Balance
   Date           Ref. #               Received From                                                                Tran Code            $                    $


07/16/2019           (41)   NORRED LAW, PLLC                   Settlement payment. Parham Garage                     1249-000           $1,000.00                     $0.00       $43,845.47
08/01/2019           2020   Bates & Myers Company              August 2019 storage (1/2 with Regency)                2410-000                 $0.00                  $75.00       $43,770.47
08/06/2019           (30)   GABRIEL ASKARINAM FAST             Settlement payment Ace Funding Source LLC             1241-000           $8,000.00                     $0.00       $51,770.47
                            BUSINESS FINANCIAL LLC
08/08/2019           (35)   J. BRYANT BOYD, DESIGN BUILD       Settlement payment Red CymbalManagement LLC           1241-000          $10,000.00                     $0.00       $61,770.47
08/14/2019           (38)   APPLETON GROUP                     Settlement payment                                    1141-000           $8,500.00                     $0.00       $70,270.47
09/03/2019           2021   Bates & Myers Company              September 2019 storage (1/2 with Regency)             2410-000                 $0.00                  $75.00       $70,195.47
09/06/2019           (33)   ENTERPRISE RECYCLING LTD DBA       Settlement payment                                    1241-000           $3,200.00                     $0.00       $73,395.47
                            BUDGET WRENCH APART
10/07/2019           2022   Bates & Myers Company              October 2019 storage (1/2 with Regency)               2410-000                 $0.00                  $75.00       $73,320.47
11/04/2019           2023   Bates & Myers Company              November 2019 storage (1/2 with Regency)              2410-000                 $0.00                  $75.00       $73,245.47
11/20/2019           (40)   POWER UP LENDING GROUP LTD         Settlement payment                                    1241-000          $18,500.00                     $0.00       $91,745.47
12/03/2019           (36)   MICHAEL RATLIFF LAW ACCOUNT        Settlement Bridgeport Iron & Metal-attorney trust     1241-000           $1,000.00                     $0.00       $92,745.47
                                                               accoount
12/04/2019           2024   Bates & Myers Company              December 2019 storage (1/2 with Regency)              2410-000                 $0.00                  $75.00       $92,670.47
12/13/2019           (42)   UNITED COOPERATIVE SERVICES        Member dividend                                       1290-000              $20.64                     $0.00       $92,691.11
12/13/2019           (42)   UNITED COOPERATIVE SERVICES        Member dividend                                       1290-000              $60.39                     $0.00       $92,751.50
01/03/2020           2025   Bates & Myers Company              January 2020 storage (1/2 with Regency)               2410-000                 $0.00                  $75.00       $92,676.50
02/05/2020           2026   Bates & Myers Company              February 2020 storage (1/2 with Regency)              2410-000                 $0.00                  $75.00       $92,601.50
03/06/2020           2027   Bates & Myers Company              March 2020 storage (1/2 with Regency)                 2410-000                 $0.00                  $75.00       $92,526.50
03/23/2020           (31)   MURPHY SCOTT RESOURCES             Settlement payment                                    1241-000          $17,250.00                     $0.00      $109,776.50
04/03/2020           2028   Bates & Myers Company              April 2020 storage (1/2 with Regency)                 2410-000                 $0.00                  $75.00      $109,701.50
05/05/2020           2029   Bates & Myers Company              May 2020 storage.                                     2410-000                 $0.00                 $150.00      $109,551.50
06/01/2020           2030   Bates & Myers Company              June 2020 storage.                                    2410-000                 $0.00                 $150.00      $109,401.50
06/04/2020           2031   REGENCY DEVELOPMENT &              Refund Regency Development case for storage charge    2410-000                 $0.00                  $75.00      $109,326.50
                            CONSTRUCTION SERVICES, LLC         paid after Regency TFR submitted.
07/06/2020           2032   Bates & Myers Company              July 2020 storage.                                    2410-000                 $0.00                 $150.00      $109,176.50

                                                                                                                    SUBTOTALS           $67,531.03                 $1,200.00
                                    Case 17-40693-mxm7             Doc 520 Filed 10/28/20 Entered 10/28/20 12:16:40                                     Desc Main
                                                                               FORM Page
                                                                          Document    2   9 of 10                                                                      Page No: 4
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         17-40693                                                                                          Trustee Name:                          Shawn K. Brown
Case Name:                       ERATH IRON AND METAL, INC.                                                                        Bank Name:                             Independent Bank
Primary Taxpayer ID #:           **-***9575                                                                                        Checking Acct #:                       ******0693
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:            10/01/2019                                                                                        Blanket bond (per case limit):         $300,000.00
For Period Ending:               09/30/2020                                                                                        Separate bond (if applicable):


     1                2                          3                                                    4                                                    5                    6                 7

Transaction      Check /                      Paid to/                        Description of Transaction                             Uniform          Deposit             Disbursement          Balance
   Date           Ref. #                   Received From                                                                            Tran Code           $                      $


08/03/2020           2033    Bates & Myers Company                    August 2020 storage.                                          2410-000                   $0.00                $150.00       $109,026.50
08/31/2020                   Independent Bank                         Account Analysis Charge                                       2600-000                   $0.00                $159.04       $108,867.46
09/01/2020           2034    Bates & Myers Company                    September 2020 storage.                                       2410-000                   $0.00                $150.00       $108,717.46
09/30/2020                   Independent Bank                         Account Analysis Charge                                       2600-000                   $0.00                $158.61       $108,558.85

                                                                                        TOTALS:                                                        $113,761.10                  $5,202.25      $108,558.85
                                                                                            Less: Bank transfers/CDs                                         $0.00                      $0.00
                                                                                        Subtotal                                                       $113,761.10                  $5,202.25
                                                                                            Less: Payments to debtors                                        $0.00                      $0.00
                                                                                        Net                                                            $113,761.10                  $5,202.25




                      For the period of 10/01/2019 to 09/30/2020                                                  For the entire history of the account between 11/15/2017 to 9/30/2020

                      Total Compensable Receipts:                      $36,831.03                                 Total Compensable Receipts:                                 $113,761.10
                      Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                    $36,831.03                                 Total Comp/Non Comp Receipts:                               $113,761.10
                      Total Internal/Transfer Receipts:                     $0.00                                 Total Internal/Transfer Receipts:                                 $0.00


                      Total Compensable Disbursements:                  $1,667.65                                 Total Compensable Disbursements:                              $5,202.25
                      Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                $1,667.65                                 Total Comp/Non Comp Disbursements:                            $5,202.25
                      Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                            $0.00
                                    Case 17-40693-mxm7            Doc 520 Filed 10/28/20 Entered 10/28/20 12:16:40                                    Desc Main
                                                                              FORMPage
                                                                        Document     2   10 of 10                                                              Page No: 5
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        17-40693                                                                                      Trustee Name:                        Shawn K. Brown
Case Name:                      ERATH IRON AND METAL, INC.                                                                    Bank Name:                           Independent Bank
Primary Taxpayer ID #:           **-***9575                                                                                   Checking Acct #:                     ******0693
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:           10/01/2019                                                                                    Blanket bond (per case limit):       $300,000.00
For Period Ending:              09/30/2020                                                                                    Separate bond (if applicable):


    1                2                           3                                                   4                                                5                  6              7

Transaction      Check /                     Paid to/                        Description of Transaction                         Uniform           Deposit          Disbursement       Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                   $



                                                                                                                                                                             NET         ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                               NET DEPOSITS                   DISBURSE        BALANCES

                                                                                                                                                 $113,761.10             $5,202.25      $108,558.85




                     For the period of 10/01/2019 to 09/30/2020                                              For the entire history of the account between 11/15/2017 to 9/30/2020

                     Total Compensable Receipts:                      $36,831.03                             Total Compensable Receipts:                              $113,761.10
                     Total Non-Compensable Receipts:                       $0.00                             Total Non-Compensable Receipts:                                $0.00
                     Total Comp/Non Comp Receipts:                    $36,831.03                             Total Comp/Non Comp Receipts:                            $113,761.10
                     Total Internal/Transfer Receipts:                     $0.00                             Total Internal/Transfer Receipts:                              $0.00


                     Total Compensable Disbursements:                  $1,667.65                             Total Compensable Disbursements:                           $5,202.25
                     Total Non-Compensable Disbursements:                  $0.00                             Total Non-Compensable Disbursements:                           $0.00
                     Total Comp/Non Comp Disbursements:                $1,667.65                             Total Comp/Non Comp Disbursements:                         $5,202.25
                     Total Internal/Transfer Disbursements:                $0.00                             Total Internal/Transfer Disbursements:                         $0.00




                                                                                                                                               /s/ SHAWN K. BROWN
                                                                                                                                               SHAWN K. BROWN
